902 F.2d 1564Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Joseph Emanuel CROUCH, Petitioner-Appellant,v.James E. JOHNSON, Respondent-Appellee.
    No. 89-6762.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 21, 1990.Decided April 25, 1990.Rehearing and Rehearing In Banc Denied May 24, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  Claude M. Hilton, District Judge.  (C/A No. 88-689-AM)
      Joseph Emanuel Crouch, appellant pro se.
      Linwood Theodore Wells, Jr., Assistant Attorney General, Richmond, Va., for appellee.
      E.D.Va.
      DISMISSED.
      Before K.K. HALL, SPROUSE and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Joseph Emanuel Crouch seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Crouch v. Johnson, C/A No. 88-689-AM (E.D.Va. May 22, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    